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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-CIV-80513-RAR

  JOHN DOE, on behalf of himself and
  all others similarly situated,

         Plaintiff,

  v.

  TOWN OF JUPITER, et al.,

        Defendants.
  _______________________________/

                 ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION
                      TO COMPEL DESTRUCTION OF VIDEOS

         THIS CAUSE comes before the Court on Plaintiff John Doe’s Unopposed Motion to

  Compel Destruction of Videos [ECF No. 154] (“Motion”). The Court having reviewed the Motion

  and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED that the Motion [ECF No. 154] is GRANTED. Pursuant

  to the terms of the parties’ settlement agreement, Defendants shall destroy the videos unlawfully

  obtained through the surveillance of the Orchids of Asia Day Spa located in Jupiter, Florida from

  January 18, 2019 to January 22, 2019, including any body camera footage obtained during

  associated traffic stops as well as any copies thereof.



         DONE AND ORDERED in Fort Lauderdale, Florida this 22nd day of January, 2021.




                                                            _________________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE
